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5
                          UNITED STATES DISTRICT COURT
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                        EASTERN DISTRICT OF CALIFORNIA
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9
     FAUSTINO GONZALES,                  CR. NO. 2:07-0248-16 WBS
10
                  Petitioner,            ORDER
11
         v.
12
     UNITED STATES OF AMERICA,
13
                  Respondent.
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18             On March 8, 2017, defendant Faustino Gonzales filed a

19   motion to reduce sentence pursuant to 18 U.S.C. § 3582.           (Docket

20   No. 1507.)   The United States shall file a response to

21   petitioner’s motion no later than April 5, 2017.         Petitioner may

22   then file a reply no later than April 26, 2017.        The court will

23   then take the motion under submission and will inform the parties

24   if oral argument or further proceedings are necessary.

25             IT IS SO ORDERED.

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     Dated:   March 8, 2017
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